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                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA


  INTERNATIONAL MARKETS LIVE, INC.,
et al.,                                                                2:18−cv−00187−JAD−GWF
                      Plaintiff(s),                                    MINUTES OF THE COURT
 vs.
 ROBERT HALTERMAN, et al.,                                              May 10, 2018
                     Defendant(s).


 PRESENT:
 The Honorable     Jennifer A. Dorsey     , U.S. District Judge

 Deputy Clerk:    Erin Smith                Recorder/Reporter: None Appearing

 Counsel for Plaintiff(s): None Appearing           Counsel for Defendant(s): None Appearing

 MINUTE ORDER IN CHAMBERS
 REGARDING THE REQUIREMENTS OF
 Klingele v. Eikenberry and Rand v. Rowland:

        A party or parties have filed a motion to dismiss, motion for judgment on the pleadings, or a motion for
 summary judgment. These are known as "dispositive motions", for they may terminate either some portion or all of
 this lawsuit, if granted. This notice is given to all parties to this litigation, and particularly to the party against whom
 the above referenced motion has been filed, pursuant to the requirements of Klingele v. Eikenberry, 849 F.2d 409
 (9th Cir. 1988) and Rand v. Rowland, 154 F.3d 952 (9th Cir. 1998).

        Pursuant to the last sentence in Fed. R. Civ. P. 12(b), if evidence is submitted with a motion to dismiss and
 considered by the court, then the motion will be treated as a motion for summary judgment. The same is true
 regarding a motion for judgment on the pleadings. See Fed. R. Civ. P. 12(c). This notice is issued, in part, to alert
 the plaintiff that if defendants have submitted evidence in support of a motion to dismiss or a motion for
 judgment on the pleadings, then the court may treat the pending motion as a motion for summary judgment.
  If the court grants summary judgment, then judgment may be entered against plaintiff and this lawsuit will
 end without trial. This notice contains important information about what you need to do to oppose the motion.
  Please read it carefully.


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       Motion to Dismiss−Fed. R. Civ. P. 12(b)(6)

       If the party or parties which filed the motion (hereinafter, the "moving party") have filed a motion to dismiss
 pursuant to Fed. R. Civ. P. 12(b)(6), the party or parties against whom that motion is filed (hereinafter, the
 "non−moving party") must file points and authorities in opposition to that motion within 14 days after service of the
 motion. Local Rule 7−2(b). The failure to file points and authorities in response to any motion shall constitute a
 consent to the granting of the motion. Local Rule 7−2(d). The court may then grant the motion and dismiss the
 non−moving party's claims. If the non−moving party does not agree that its claims should be dismissed, it must file
 and serve points and authorities in opposition within 14 days from the date the moving party served the non−moving
 party with the motion.

       Motion for Judgment on the Pleadings−Fed. R. Civ. P. 12(c)

        If the moving party has filed a motion for judgment on the pleadings pursuant to Fed. R. Civ. P. 12(c), the
 non−moving party must file points and authorities in opposition to that motion for judgment within 14 days after
 service of the motion. Local Rule 7−2(b). The failure to file points and authorities in response to any motion shall
 constitute a consent to the granting of the motion. Local Rule 7−2(d). The court may then grant the motion and
 dismiss the non−moving party's claims. If the non−moving party does not agree that its claims should be dismissed,
 the non−moving party must file and serve points and authorities in opposition within 14 days from the date the
 moving party served the non−moving party with the motion.

       Motion for Summary Judgment−Fed. R. Civ. P. 56

        If the moving party has filed a motion to dismiss under Fed. R. Civ. P. 12(b)(6) or a motion for judgment on
 the pleadings under Fed. R. Civ. P. 12(c) and attached admissible evidence to the motion, or if it has filed a motion
 for summary judgment under Fed. R. Civ. P. 56, then the non−moving party must properly oppose the motion, by
 filing opposing points and authorities, admissible evidence, and a statement of facts under Local Rule 56−1, within
 21 days after service of the motion. See Fed. R. Civ. P. 56, Local Rules 7−2(b) and 56−1. The standards governing
 motions for summary judgment are stated in Rule 56 of the Federal Rules of Civil Procedure. All parties should read
 that rule and be familiar with it.

       The Ninth Circuit Court of Appeals has directed that the following notice be given to you:

               A motion for summary judgment is a means through which the defendants seek to have your
         case dismissed. A motion for summary judgment under Rule 56 of the Federal Rules of Civil
         Procedure will, if granted, end your case.

                Federal Rule of Civil Procedure 56 tells you what you must do in order to oppose a motion for
         summary judgment. Generally, summary judgment must be granted when there is no genuine issue
         of material fact−−that is, if there is no real dispute about any fact that would affect the result of your
         case, the party who asked for summary judgment is entitled to judgment as a matter of law, which
         will end your case. When a party you are suing makes a motion for summary judgment that is
         properly supported by declarations (or other sworn testimony), you cannot simply rely on what your
         complaint says. Instead, you must set out specific facts in the form of admissible evidence (such as
         affidavits, declarations, depositions, answers to interrogatories, or properly authenticated documents
         as provided in Rule 56(e)), that contradict the facts shown in the defendant's declarations and
         documents and show that there is a genuine issue of material fact for trial. If you do not submit your
         own evidence in opposition, summary judgment, if appropriate, may be entered against you. If
         summary judgment is granted, your case will be dismissed and there will be no trial.

                Rule 56−1 of the Local Rules for the United States District Court for the District of Nevada
         also requires, in addition, that you file with your opposition to a motion for summary judgment a
         statement of facts which you contend are or are not genuinely in issue in this summary judgment
         procedure. If you are opposing a summary judgment motion, you should review the opposing party's
         Local Rule 56−1 statement of facts not genuinely in issue, and you should set forth in writing those
         facts (supported by specific citation to evidence in the record which you have attached to your
         motion or statement) which contradict the claims of the opposing party. In other words, you must
         provide the court a statement of facts supported by attached admissible evidence that demonstrates
         that the opposing party is not entitled to judgment against you.



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               If you are the party moving for summary judgment, you should set forth, in writing, a
        statement of material facts, not genuinely in issue (supported by specific citation to evidence in the
        record which you have attached to your motion or statement) which supports your claim for
        summary judgment. In so doing, you must show the court those material facts which can be proven
        with admissible evidence that demonstrate that you are entitled to have judgment entered in your
        favor at this time.

               If the non-moving party fails to oppose the motion within 21 days, or if the non-moving party
        fails to submit evidence supporting its opposition, the court may consider the facts as undisputed.
        Accordingly, if the motion for summary judgment has merit, the Court may then grant the motion
        and enter judgment.

        IT IS THEREFORE ORDERED that non−moving party or parties shall have 14 days, or 21 days for a
 motion for summary judgment, from the date of this Minute Order within which to file and serve points and
 authorities (and any other required documents) in opposition to the pending dispositive motion pursuant to the
 instructions herein, and the moving party shall thereafter have 7 days, or 14 days for a motion for summary
 judgment, after filing of the opposing points and authorities within which to file and serve reply points and
 authorities (and any other required documents). The pending motion(s) shall then be submitted to the court for
 decision.



                                                          DEBRA K. KEMPI, CLERK


                                                          By: /s/ Erin Smith

                                                                Deputy Clerk




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